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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

LESLIE BARTOLOMEL,
individually and on behalf of all others

Case No.: 4:20-cv-271-BRW
similarly situated

CLASS ACTION
Plaintiff,

COMPLAINT FOR VIOLATIONS OF:

VS. .

1. | NEGLIGENT VIOLATIONS OF
THE TELEPHONE CONSUMER
PROTECTION ACT [47 U.S.C. §
227 ET SEQ.]

NATIONAL REPUBLICAN
CONGRESSIONAL COMMITTEE,

2. WILLFUL VIOLATIONS OF
THE TELEPHONE CONSUMER
PROTECTION ACT [47 U.S.C. §
227 ET SEQ.]

And

(Amount to exceed $75,000.00)

WINRED TECHNICAL SERVICES,

DEMAND FOR JURY TRIAL
LLC,

Defendants.

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AFFIDAVIT OF UNKNOWN TORTFEASORS

I, Jose M. Bautista, first being duly sworn under oath, pursuant to Ark. Code Ann. § 16-
56-125, for his John/Jane Doe Affidavit, subject to the jurisdiction and penalties of perjury of
Arkansas, deposes and states of personal knowledge as follows:

1. I am Jose M. Bautista, co-counsel for Plaintiff in the above-styled case.

2. I am licensed to practice law in the State of Arkansas, State of Missouri, State of
Illinois and this Court. My Arkansas Bar Association Number is 2009-005.

3. Plaintiff brings this Class Action Complaint for damages, injunctive relief, and

any other available legal or equitable remedies, resulting from the illegal actions of NATIONAL

 
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REPUBLICAN CONGRESSIONAL COMMITTEE and WINRED TECHNICAL SERVICES ~

LLC (“Defendants”), in negligently and knowingly contacting Plaintiff on Plaintiff’s cellular
telephone, from January 8, 2020 to F ebruary 17, 2020, in violation of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq.,. |

4. As a result of the incidents occurring during said period, Plaintiff filed a Class
Action Complaint alleging claims against all tortfeasors reasonably known and who can be
identified upon currently available information.

5. As of the date of the filing of this Class Action Complaint, I have been unable to
identify with due diligence, based upon the available facts and information, additional tortfeasors
who might be directly or vicariously responsible or liable, who may have committed tortious acts
or omissions, who may be rightfully included in one or more causes of action listed in this Class
Action Complaint, or who may be liable for some or all of the Plaintif? s or the putative class’
injuries and damages who are not named parties and may thereby be brought into the lawsuit by
pleading as provided by the Arkansas Rules of Civil Procedure and Arkansas law,

6. Counsel has a good-faith belief that such additional tortfeasors may exist and
anticipates that the discovery process and further identification of facts and information, not yet
known or discoverable by public information, will yield the identity of additional tortfeasors.

8. In order to protect the interests of Plaintiff and the putative class, it is necessary to
include allegations against unknown tortfeasors, both individual and entity, in this Class Action
Complaint pleading.

9. I have included and identified the unknown tortfeasors in this Class Action
Complaint as “JOHN DOE UNKNOWN TORTFEASORS AND AGENTS” and will

supplement with the correct information when and if it becomes available.

 

 
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Further Affiant Sayeth Not.

Executed this 27th day of March, 2020,

 

(7 M. Bautista

ACKNOWLEDGMENT

 

County of Jackson }

} ss
State of Missouri }

Subscribed, sworn to and acknowledged before me, this 26th day of March 26, 2020,

Lj }
Notary yey
REBECCA Y. PERKINS
Notary Public - Notary Seal

County - State of Missouri
Jackson son Humbe! 11417009

ommission Expires Nov 23, 2023
De and

   
    
     
   

[Seal]

My Commission Expires:

   

 

 
